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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            VICTORIA DIVISION

 IN RE:                                     §
                                            §
                                                           Case No. 22-60004
 DAVID MICHAEL MOBLEY                       §
                                                              Chapter 11
     Debtor                                 §
                                            §
                                            §
 QUALITY LEASE AND RENTAL                   §
 HOLDINGS, LLC, et al.,                     §
     Plaintiffs                             §
                                            §           Adversary No. ________
 v.                                         §
                                            §
 DAVID MICHAEL MOBLEY,                      §
     Debtor/Defendant                       §

PLAINTIFFS’ COMPLAINT TO DETERMINE THE DISCHARGEABILITY OF
     DEBT PURSUANT TO 11 U.S.C § 523(a), (2), (4), and (6) AGAINST
         DEBTOR/DEFENDANT DAVID MICHAEL MOBLEY

       Plaintiffs Quality Lease and Rental Holdings, LLC (“QLRH”), Quality Lease

Rental Service, LLC (“QLRS”), Quality Lease Service, LLC (“QLS” and with QLRS, the

“Quality Companies”), Rocaceia, LLC (“Rocaceia”) (collectively, “Plaintiffs”) hereby

file their Complaint to Determine the Dischargeability of Debt Pursuant to 11 U.S.C. §

523(a), (2), (4), and (6) (“Complaint”) against Debtor/Defendant David Michael Mobley

(“Michael Mobley” or “Debtor”), and allege as follows:

                           SUMMARY OF THIS ACTION

       1.     This is an action seeking a determination that over $40 million in debts of

Debtor Michael Mobley are not dischargeable under 11 U.S.C. § 523(a), (2), (4), and (6)

because such debts resulted from Michael Mobley’s false representations, fraudulent

conduct, and breaches of fiduciary duty in connection with the sale and post-sale operation
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of oilfield services companies. In addition, Debtor’s conduct was intentional, purposeful,

and willful, and his actions were done maliciously to defraud and harm Plaintiffs.

       2.     Debtor’s debts arose from Plaintiffs claims that center around the sale of the

Quality Companies, two oilfield services companies founded by Michael Mobley that

operated out of in El Campo, Texas.

       3.     On December 31, 2012, Michael Mobley and his former wife, Greta Yvette

Mobley (“Yvette Mobley”), through their wholly-owned entity QLS HoldCo, Inc.

(“Holdco” together with Yvette Mobley and Michael Mobley, “Sellers”), sold the Quality

Companies, to the newly-created QLRH, pursuant to the terms and conditions of a Purchase

and Contribution Agreement (“Purchase Agreement”). The purchase price was calculated

using a multiple of the Quality Companies’ reported normalized EBITDA,1 which at the

end of the third quarter in 2012 was reported to be annualized at approximately $14 million.

Calculated as 80% of a five times (5x) multiple, the purchase price calculation resulted in

a $70 million going concern valuation of the Quality Companies. Based on this EBITDA

calculation, Sellers received the following consideration in exchange for selling the Quality

Companies to QLRH: (a) approximately $40 million cash; (b) a $20 million note from

QLRH (“$20 Million Note”); and (c) a 20% ownership interest in QLRH.

       4.     The Quality Companies specialized in providing wellsite construction,

equipment rental, and production and support services to some of the largest oil producers

in the country and reported more than $20 million in annual revenues at the time of the


1
 “EBITDA” refers to a company’s earnings before interest, taxes, depreciation, and amortization.
“Normalized” EBITDA removes certain personal and discretionary expenses and expenditures that
may otherwise be included in reported EBITDA.
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Purchase Transaction. QLRH believed, and Michael Mobley represented, that the future

success of the Quality Companies was dependent upon Michael Mobley continuing to

manage the Quality Companies for a transitional period after the purchase. As a condition

to consummating the purchase and sale, QLRH and Michael Mobley contemporaneously

entered into an Employment Agreement under which QLRH agreed to employ Michael

Mobley as President of QLRH for an initial term of three years at an annual base salary of

$275,000. Under this agreement, Michael Mobley would continue to lead, manage, and

operate the Quality Companies and, importantly, was restricted from competing with the

Quality Companies or assisting others to do so. After the sale (“Purchase Transaction”),

Michael Mobley, Yvette Mobley, and their sons David Russell Mobley (“Mikey Mobley”)

and Cody Mobley (collectively, the “Mobleys”) were all employed by QLRH and tasked

with managing the Quality Companies along with QLRH’s CEO, Allan Martin.

       5.     In negotiating the deal, Michael Mobley represented to QLRH that the

Quality Companies, through Michael Mobley and their employees, possessed extremely

valuable trade knowledge as well as significant proprietary and confidential information

concerning business operations in the oilfield industry, including customer and supplier

lists, technical data, financial information regarding sales, costs, pricing, marketing, and

strategy, contracts with third parties, vendor management information, rig housing design

and manufacturing information, and specialized methods, processes, and techniques of the

Quality Companies. Michael Mobley also represented to QLRH that they had valuable

goodwill and longstanding relationships with the Quality Companies’ major customers and

vendors, and likewise the ability to develop new customers and expand the client base for


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the Quality Companies—all of which would be transferred to QLRH under the Purchase

Agreement. In the Purchase Agreement, Michael Mobley agreed that, for five years after

the sale, they would not: (1) compete with the Quality Companies or assist others in doing

so; (2) solicit customers of the Quality Companies; (3) hire former employees of the

Quality Companies; or (4) intentionally interfere with the business relationships of the

Quality Companies. Michael Mobley agreed to similar restrictive covenants in his

Employment Agreement with QLRH.

      6.     During negotiations, Michael Mobley also disclosed that he managed several

affiliated companies in which he and Yvette owned majority interests, including Q.C.E.

Supply, Inc. (“QCE”), Texas Quality Mats, LLC (“TQ Mats”), Texas Quality Gate Guard

Service, LLC (“TQ Gate” collectively with QCE and TQ Mats, the “Mobley Affiliates”).

Michael Mobley provided QLRH and its agents with a written description of the affiliated

companies and the equipment owned by each. Michael Mobley assured QLRH that the

Quality Companies provided all of the revenue-generating wellsite services and housing

rentals that QLRH sought to acquire. Michael Mobley further assured QLRH that the

Mobley Affiliates were customers of the Quality Companies, did not compete with the

Quality Companies, and did not provide any of the service lines, equipment, or housing

that were sources of revenue for the Quality Companies. Based upon those representations,

the parties drafted the Employment Agreement (and Purchase Agreement) to permit

Michael Mobley to continue to manage and operate the Mobley Affiliates in the same

limited manner and to the same limited extent that they were operated on the date of the

Purchase Transaction (“Closing Date”)—provided that Michael Mobley would not allow


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“the Mobley Affiliates to expand or increase such operations in any manner that would

have an adverse effect on the Business of [QLRH] without the written consent of [QLRH].”

      7.     Despite their express representations, Michael Mobley brazenly violated his

agreements with QLRH. Before the Closing Date, Michael Mobley began making

preparations to compete with QLRH, procuring insurance to cover new equipment ordered

by the Mobley Affiliates that Michael Mobley would use to expand the business of QCE

and siphon business from QLRH. Immediately after the Closing Date, Michael Mobley

aggressively solicited QLRH customers, expanded the business of the Mobley Affiliates to

compete with QLRH, and diverted business from QLRH to the Mobley Affiliates and two

companies formed by Mikey and Cody Mobley, Solid Liberty Services, LLC (“SLS”) and

Solid Liberty Rental Services, LLC (“SLRS” together with SLS, “Solid Liberty”). When

QLRH customers called, Michael Mobley caused work orders to be diverted to Mobley

Affiliates for various wellsite construction, equipment rental, and production and support

services that the Quality Companies had provided in the past to the same customers.

Michael Mobley caused the Mobley Affiliates to invoice customers of the Quality

Companies for wellsite services provided by employees of the Quality Companies and

helped the Mobley Affiliates collect payment for those services. Michael Mobley even

caused the Mobley Affiliates to invoice QLRH for services that they provided using QLRH

equipment and employees—the same services that previously had generated revenue for

the Quality Companies.




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       8.     Not surprisingly, QLRH’s revenues plummeted to a fraction of those

reported prior to the Purchase Transaction. By the end of January 2013 (only one month

after the Closing Date), QLRH’s revenues were projected to fall short by nearly half of the

prior year reported revenues and continued to drop in the weeks and months that followed.

While the Mobley Affiliates’ illegitimate equipment and services business boomed—

particularly QCE’s—and revenues tripled or more, much of the equipment that QLRH used

to generate revenue either sat idle in the yard or was inoperable and in need of repairs. By

March 2013, QLRH executives were very concerned about the dramatic revenue shortfalls

and Michael Mobley’s failure to provide any credible explanation. On or around March 16,

2013, Allan Martin and other QLRH executives met with Michael and Yvette Mobley at

Yvette Mobley’s house to discuss the problem. When questioned about the financial

performance of the companies he managed, Michael Mobley became extremely aggressive

and defensive—at one point violently picking up and slamming down a dining table—and

threatened to “blow up” QLRH and the Quality Companies and take away all of their

customers. In direct contravention of the promises made in the Purchase Agreement and

Employment Agreement, Michael Mobley insisted that the Mobley Affiliates could

compete with the Quality Companies and that he could simply transfer QCE to his sons

(now that he had built it up at the expense of the Quality Companies).

       9.     Michael Mobley soon made good on his threat. On April 5, 2013, Mikey and

Cody Mobley resigned their management positions with QLRH. The next day, QLRH

terminated Yvette Mobley and placed Michael Mobley on administrative leave in an effort

to investigate the wrongdoing and prevent QLRH’s complete destruction. On April 17,


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2013, Mikey and Cody Mobley used SLS—formed only weeks earlier—to acquire QCE

and disguise the fact that their parents Michael and Yvette Mobley were breaching their

express contractual obligations to QLRH. In a sham transaction, QCE was purportedly

“sold” to SLS for $3.6 million—roughly the same amount that Yvette Mobley

contemporaneously “loaned” to Cody Mobley, through an intermediary, for no apparent

reason. On April 19, 2013, Mikey and Cody Mobley also formed SLRS to compete with

QLRH in the construction and rental of rig housing—another lucrative segment of QLRH’s

business.

      10.    As the QLRH executives attempted to salvage the businesses they had

purchased only months earlier, Michael Mobley, working with the Mobley Affiliates and

other Mobleys, began picking off QLRH’s customers, vendors, employees, and revenue

streams. Michael Mobley and the Mobley Affiliates solicited and hired away key QLRH

employees from every sector of the business, including sales personnel, supervisors,

drivers, operators, pushers, carpenters, mechanics, roustabouts, welders, and maintenance

crew. In blatant violation of the Purchase Agreement and Employment Agreement,

Michael Mobley directly or indirectly managed and/or financed the Mobley Affiliates and

Solid Liberty.

      11.    By the summer of 2013, QLRH was hemorrhaging customers and revenues.

Not only were the Mobleys, Mobley Affiliates, and Solid Liberty directly competing with

QLRH, but QLRH executives learned that Michael Mobley had made false representations

in the Purchase Agreement and omitted material facts that induced QLRH to enter into the

Purchase Transaction. Among other things, Michael Mobley falsely represented and


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warranted at the time of the Purchase Transaction that they had transferred certain assets

to QLRH, that the transferred assets were in proper working condition, that they had

disclosed all material customers and suppliers, that they were not aware of any customers

who were planning to move their business, that they had disclosed all liabilities, and that

they had complied with all applicable laws—each of which was false at the time made.

       12.    As a direct and proximate result of the conduct described above, QLRH lost

its major customers and revenues and subsequently filed for bankruptcy protection in

October 2014. Meanwhile, Michael Mobley, the Mobley Affiliates, and Solid Liberty

continued to compete with QLRH in express violation of the Purchase Agreement and

Employment Agreement and their common law and statutory duties.

       13.    In September 2013, Plaintiffs filed claims in Texas state court against

Michael Mobley (and other parties) arising from Michael Mobley’s willful breaches and

fraudulent conduct described herein. After Plaintiffs filed for bankruptcy, this lawsuit was

removed to U.S. Bankruptcy Court and later U.S. District Court for the Southern District

of Texas. On August 26, 2019, Plaintiffs filed its Sixth Amended Counterclaims against

Michael Mobley and other defendants (the “Counterclaims” which is incorporated herein

and attached as Exhibit 1, hereto).

       14.    After years of protracted litigation, Plaintiffs’ lawsuit against Michael

Mobley was set for trial on January 24, 2022, in U.S. District Court for the Southern District

of Texas, Corpus Christ Division, before the Hon. Judge David Morales. Defendant

Michael Mobley filed a bankruptcy petition on January 21, 2022, staying the long-

scheduled trial and prosecution of Plaintiffs’ claims against him.


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       15.    Accordingly, by and through this adversary proceeding, Plaintiffs seek to

have the debts created by Debtor Michael Mobley’s fraudulent conduct described herein

be determined to be excepted from discharge under 11. U.S.C § 523(a)(2), (a)(4), and

(a)(6). Plaintiffs seek to hold Michael Mobley to account for the substantial harm he caused

Plaintiffs as a result of his unlawful, deceitful and tortious acts, including the roughly $40

million that QLRH was fraudulently induced to pay to purchase the Quality Companies.

                                         PARTIES

       16.    Quality Lease and Rental Holdings, LLC is a Delaware limited liability

company with its principal place of business in Moore, Texas. QLRH filed a voluntary

Chapter 11 bankruptcy petition on October 1, 2014. Case No. 14-60074 (Bankr. S.D. Tex.).

Pursuant to § 7.4 of the Joint Chapter 11 First Amended Plan of Liquidation (the “Quality

Plan”), confirmed on May 22, 2015, QLRH is the assignee of all litigation claims (except

avoidance actions) that belonged to the QLRS, QLS, and Rocaceia estates, including the

claims giving rise to the debts described herein.

       17.    Quality Lease Rental Service, LLC is a Texas limited liability company with

its principal place of business in Moore, Texas. Following execution of the Purchase

Agreement, QLRS operated as a wholly-owned subsidiary of QLRH. QLRS filed a

voluntary Chapter 11 bankruptcy petition on October 1, 2014. Case No. 14-60075 (Bankr.

S.D. Tex.). Pursuant to § 7.4 of the Quality Plan, confirmed on May 22, 2015, QLRS

assigned all its litigation claims (except avoidance actions) to QLRH, including the claims

giving rise to the debts described herein.




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          18.   Quality Lease Service, LLC is a Texas limited liability company with its

principal place of business in Moore, Texas. Following execution of the Purchase

Agreement, QLS operated as a wholly-owned subsidiary of QLRH. QLS filed its voluntary

Chapter 11 bankruptcy petition on October 1, 2014. Case No. 14-60076 (Bankr. S.D. Tex.).

Pursuant to § 7.4 of the Quality Plan, confirmed on May 22, 2015, QLS assigned all its

litigation claims (except avoidance actions) to QLRH, including the claims giving rise to

the debts described herein.

          19.   Rocaceia, LLC is a Delaware limited liability company with its principal

place of business in Moore, Texas. Rocaceia filed its voluntary Chapter 11 bankruptcy

petition on October 1, 2014. Case No. 14-60077 (Bankr. S.D. Tex.). Pursuant to § 7.4 of

the Quality Plan, confirmed on May 22, 2015, Rocaceia assigned all its litigation claims

(except avoidance actions) to QLRH, including the claims giving rise to the debts described

herein.

          20.   Debtor and Defendant David Michael Mobley is an individual domiciled in

Fort Bend County, Texas. Michael Mobley may be served with process at 3815

Montgomery Rd., Richmond, Texas 77406, or wherever he may be found.

                               RULE 7008 STATEMENT

          21.   Plaintiffs, pursuant to Rule 7008 of the Federal Rules of Bankruptcy

Procedure, and Local Rule 7008-1 of the Bankruptcy Local Rules for the United States

Bankruptcy Court for the Southern District of Texas, state that Plaintiffs consent to entry

of final order or judgments on core proceedings by the bankruptcy court.




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                               JURISDICTION AND VENUE

         22.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 157 and 1334(b) and 11 U.S.C § 523. This Court also has subject matter

jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that this action arises under,

arises in, and/or relates to federal securities laws.

         23.     This is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (B), (C), (H) and

(O).

         24.     This is an adversary proceeding pursuant to Fed. R. Bankr. P. 7001 that

relates to In re David Michael Mobley, No. 22-60004 (Bankr. S.D. Tex.) now pending in

this Court. Plaintiffs are creditors of Debtor and have filed proofs of claim in Debtor’s

bankruptcy case.

         25.     Debtor is subject to personal jurisdiction in this Court because Debtor is a

Texas resident, and this dispute arises out of and relates to their actions and conduct in

Texas.

         26.     Venue is proper under 28 U.S.C. § 1409.

                                  STATEMENT OF FACTS

A.       PRE-CONTRACT NEGOTIATIONS AND REPRESENTATIONS

         27.     As early as September 2011, Michael Mobley engaged J.G. “Tex” Garner

and his company, Associate Equity Group (“AEG”)2, to help find a buyer for the Quality

Companies. Between that time and the Purchase Transaction, AEG solicited several




2
    Associate Equity Group is an assumed name of Tarrant Sunbelt, Inc.
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potential buyers and secured at least three separate letters of intent to purchase, although

none of these deals managed to close.

       28.    During its search for buyers, AEG came into contact with Atlantic Merchant

Capital Investors, LLC (“AMCI”) and its managing member, Allan Martin. AMCI is a

private equity firm that seeks out small to medium sized companies focused on a niche of

a larger overall market. AMCI focuses on targets that can derive significant benefit from

centralized management—often times companies that are still owned by their original

founders. AMCI also emphasizes keeping former owners economically tied to the

continuing success of their former companies.

       29.    In 2012, AMCI was looking for opportunities in the oilfield services industry

and was drawn to the type and wide range of services offered by the Quality Companies,

especially the ancillary services provided in connection with rig housing rentals. AMCI

and Michael Mobley subsequently executed a letter of intent (the “Letter of Intent”) dated

October 10, 2012, setting forth the principal terms and conditions upon which AMCI was

proposing to purchase an interest in the Quality Companies, including that Michael Mobley

would continue to be employed by the Quality Companies and execute a five-year non-

compete in connection with the Purchase Transaction. On November 7, 2012, AMCI

formed Rocaceia, which AMCI intended to use as its principal vehicle to invest in

opportunities in the oilfield services industry, including the Quality Companies. On

December 4, 2012, Rocaceia formed QLRH, the buyer entity through which the parties

continued negotiations and effected the Purchase Transaction.




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       30.    Martin understood the importance of established personal relationships in the

oilfield services industry and that Michael Mobley’s relationships with the Quality

Companies’ customers were critical to the value of the Purchase Transaction. Thus, the

Letter of Intent proposed that: (a) Michael Mobley retain a 20% interest in the Quality

Companies; and (b) part of the purchase price be paid with a note, the value of which would

depend on the continued earnings of the Quality Companies. The Letter of Intent pegged

the purchase price and value of Michael Mobley’s rollover equity interest to the Quality

Companies’ EBITDA—earnings that, unbeknownst to AMCI, were inflated and

misrepresented by Michael Mobley.

       31.    In soliciting QLRH’s investment, Michael Mobley made several

representations regarding the Quality Companies that were material to QLRH’s decision

to acquire the Quality Companies. For example, Michael Mobley presented QLRH

representatives with the Quality Companies’ audited historical financial statements and

unaudited interim financial statements (collectively, “Financial Statements”) that

purported to demonstrate the level of historical profitability and income for the Quality

Companies. Michael Mobley also provided QLRH representatives with sellers’ disclosure

statements and various lists of the Quality Companies’ material assets and operations, and

assured them that the Quality Companies owned all machinery, equipment, vehicles, and

other items necessary to continue operating the Quality Companies’ existing business in

the same manner following the Purchase Transaction. The Financial Statements purported

to show that past earnings of the Quality Companies accounted for both the rental income,




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service income, and expenses associated with those assets, corroborating Michael

Mobley’s representations that those items would be conveyed in the Purchase Transaction.

       32.    Michael Mobley represented to QLRH and its agents that the Quality

Companies had valuable relationships with long-standing customers and the potential to

develop new customers and expand their client base, all of which was to be transferred to

QLRH on the Closing Date. Recognizing the value of these relationships, QLRH

negotiated an arrangement whereby, following the Purchase Transaction, QLRH would

employ Michael Mobley, Yvette Mobley, and their sons to ensure continuity and stability

as well as to help manage and operate the Quality Companies in continuing to grow those

businesses. In addition, it was agreed that Michael and Yvette Mobley, individually, would

retain ownership of the real property in El Campo where the Quality Companies were

headquartered (the “El Campo Yard”) and QLRH would enter into a multi-year lease for

its use post-closing.

       33.    Prior to the Closing Date, Michael Mobley disclosed to QLRH

representatives that they managed several affiliated companies in which they owned

majority interests, including the Mobley Affiliates. At the request of QLRH’s

representatives, Michael Mobley provided QLRH with written descriptions of the Mobley

Affiliates’ operations and the equipment owned by each. QCE was described only as “an

equipment and connection company that buys and sells used equipment, pipe, and tanks.”

Michael Mobley represented that QCE was actually a customer of the Quality Companies,

using “QLS or other contractors to rig down and move equipment.” The description

provided for QCE also indicated that QCE held approximately $700,000 in inventory.


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Although Michael Mobley later admitted in a deposition that this figure was understated

by $300,000, QCE’s financial statements and tax returns for 2012 reflect less than $13,000

in inventory and equipment with a gross book value under $400,000. Michael Mobley

described TQ Mats as a company “affiliated with laying board road mats for board road

locations which hires QLS or any other company to haul mats or use equipment to dig pits

or level locations.” Michael Mobley described TQ Gate as “a company that provides gate

guards for locations” and a customer of the Quality Companies that used QLS to move its

equipment and rig up water and fuel services.

      34.    Michael and Yvette Mobley assured QLRH that the Quality Companies

provided all the revenue-generating wellsite services and housing that QLRH sought to

acquire and that the Mobley Affiliates were customers of the Quality Companies, did not

compete with the Quality Companies, and did not provide any of the service lines,

equipment, or rig housing that were sources of revenues for the Quality Companies. Based

on those assurances, Michael Mobley and QLRH representatives negotiated deal terms that

would allow Michael Mobley to continue managing and operating the Mobley Affiliates

on the condition that his management and operation of those companies would not interfere

with his work on behalf of the Quality Companies.

      35.    In addition, Michael and Yvette Mobley, through Tex Garner, provided a

‘Seller’s Business Disclosure Statement’ (the “Sellers’ Disclosure”) to QLRH in the weeks

leading up to the Closing Date. The Sellers’ Disclosure was signed by Michael Mobley and

stated “Seller is providing the following disclosure information knowing that the buyer

may rely on its accuracy in deciding whether to purchase the business and that it may also


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influence the price and terms offered by the buyer.” Michael Mobley made several

representations on the Sellers’ Disclosure with respect to the Quality Companies, fully

anticipating that QLRH would rely on them, including that:

       a.     there are no revenues or expenses of the business that are not clearly reflected
              in the financial statements being presented to buyer;

       b.     there is no equipment used in the business that it does not own;

       c.     there is no equipment used in the business that is not in good and operable
              condition, or for which maintenance has been deferred or is not suitable for
              the current usage; and

       d.     during the past two years, there were no significant sales or sales within a
              category which were substantial in the aggregate and which are not likely to
              repeat within the next two years.

       36.    Relying on the foregoing representations by Michael Mobley, QLRH agreed

to enter into the Purchase Transaction to acquire the Quality Companies in exchange for

approximately $40 million cash, the $20 Million Note, and 20% equity in QLRH, all

pursuant to the terms of the Purchase Agreement.

       37.    A true and correct copy of the Purchase Agreement is attached hereto as

Exhibit B to the Counterclaims. A true and correct copy of the $20 Million Note is attached

hereto as Exhibit C to the Counterclaims.

B.     MICHAEL MOBLEY’S OBLIGATIONS UNDER THE PURCHASE AGREEMENT

       38.    On December 31, 2012, Sellers and QLRH entered into the Purchase

Agreement. Michael Mobley made numerous representations and warranties to QLRH in

Article III of the Purchase Agreement. Pursuant to § 7.02, QLRH’s obligations under the

Purchase Agreement were conditioned upon those representations and warranties being

true and correct in all respects as of the Closing Date. Michael Mobley represented and


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warranted in § 3.25 that “[n]o representation or warranty by Sellers in this Agreement and

no statement contained in the Disclosure Schedules to this Agreement or any certificate or

other document furnished or to be furnished to [QLRH] pursuant to this Agreement

contains any untrue statement of material fact, or omits to state a material fact necessary

to make the statements contained therein, in light of the circumstances in which they are

made, not misleading.” (emphasis added)

       39.    In § 3.06 of the Purchase Agreement, Michael Mobley represented and

warranted that the Financial Statements included in the disclosure schedules attached to

the Purchase Agreement (“Disclosure Schedules”) were complete, prepared in accordance

with GAAP, and “fairly present the financial condition” of the Quality Companies. In §

3.10(a), Michael Mobley represented and warranted that § 3.10(a) of the Disclosure

Schedules was “a true, accurate and complete list of all vehicles equipment, rig houses and

other tangible assets owned by [the Quality Companies] and/or used in the business of [the

Quality Companies].” The list of assets found in § 3.10(a) of the Disclosure Schedules

appeared to confirm Michael Mobley’s statements in negotiations regarding the Quality

Companies’ assets that would be conveyed in the Purchase Transaction. In § 3.11 of the

Purchase Agreement, Michael Mobley further represented and warranted that the

buildings, plants, structures, furniture, fixtures, machinery, equipment, vehicles and other

items of tangible personal property of the Quality Companies were “in good operating

condition and repair, and are adequate for the uses to which they are being put,” and that

none required maintenance or repairs “except for ordinary, routine maintenance and repairs

that are not material in nature or cost.” Michael Mobley also represented and warranted in


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that same section that the buildings, plants, structures, furniture, fixtures, machinery,

equipment, vehicles and other items of tangible personal property “currently owned or

leased by” the Quality Companies “are sufficient for the continued conduct of [the Quality

Companies’] business after the Closing in substantially the same manner as conducted prior

to the Closing and constitute all of the rights, property and assets necessary to conduct the

business of [the Quality Companies] as currently conducted.”

       40.    Michael Mobley represented and warranted in § 3.15(a) of the Purchase

Agreement that “no Seller Party has received any notice, or has any reason to believe, that

any of [the Quality Companies’] Material Customers has ceased, or intends to cease after

the Closing, to use its goods or services or to otherwise terminate or materially reduce its

relationship with the [Quality Companies].”

       41.    Michael Mobley represented and warranted in § 3.17 of the Purchase

Agreement that there were no current or potential legal or governmental proceedings

involving or affecting the Quality Companies, or any of those companies’ assets, and that

nothing had occurred that would give rise to, or serve as a basis for, future proceedings

against the Quality Companies. In § 3.21 and the corresponding Disclosure Schedules,

Michael Mobley represented and warranted that neither of the Quality Companies

employed any independent contractors, and also that there were no actions pending or

threatened to be brought or filed “by or with any Governmental Authority or arbitrator in

connection with the employment of any current or former applicant, employee, consultant,

volunteer, or independent contractor” of the Quality Companies, including without

limitation “any claim relating to unfair labor practices, employment discrimination,


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harassment, retaliation, equal pay, wage and hours or any other employment related matter

arising under applicable Laws.” Section 3.21(c) added that “[a]ll employees classified as

exempt under the Fair Labor Standards Act and state and local wage and hour laws are

properly classified.”

       42.    As QLRH would later learn, each of the foregoing representations and

warranties made by Michael Mobley were false at the time they were made.

       43.    Michael Mobley agreed to non-competition and non-solicitation covenants

in § 5.07 of the Purchase Agreement. In § 5.07(a), Michael Mobley covenanted that, for a

period of five years from the Closing Date, they would not, and would not permit any of

their “Affiliates,” to directly or indirectly: (i) engage in or assist others in engaging in

“Restricted Business” in North America; (ii) hold an interest in any entity that engages

directly or indirectly in “Restricted Business” in North America in any capacity; or (iii)

intentionally interfere in any material respect with the Quality Companies’ customer or

supplier relationships (whether formed prior to or after the date of the Purchase

Agreement).

       44.    The Purchase Agreement defines “Restricted Business” as the past, actual,

and anticipated business of the Quality Companies as of the Closing Date, including but

not limited to the provision of wellsite construction, production, and support services to

the oilfield industry, including “rental equipment, rig housing and accommodations, water

and sewer systems, power supply, frac tank services, vacuum truck services, waste

management, water hauling, liquids and solid control, completion fluids, gravel trucks,

roustabout crews, heavy hauling, transfer equipment, securing rights and permits, clearing


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and leveling of land, building of roads & pads, and pipeline construction.” An “Affiliate”

of a party is defined as “any other Person that directly or indirectly, through one or more

intermediaries, controls, or is controlled by, or is under common control with” that party.

As negotiated, Michael’s and Yvette Mobley’s operation of QCE, TQ Mats, and TQ Gate

were carved out from the non-competition and non-solicitation covenants in § 5.07 of the

Purchase Agreement, but only to the extent that those entities continued to conduct their

business “in the same manner and to the same extent” as on the Closing Date.

C.     MICHAEL MOBLEY’S OBLIGATIONS UNDER THE EMPLOYMENT AGREEMENT

       45.    Contemporaneous with the execution of the Purchase Agreement, QLRH and

Michael Mobley entered into the Employment Agreement, through which Michael Mobley

would receive an annual base salary of $275,000 in his role as President of QLRH. A true

and correct copy of the Employment Agreement is attached hereto as Exhibit D to the

Counterclaims.

       46.    Michael Mobley acknowledged and agreed in § 1.2 of the Employment

Agreement that he owed a strict duty of loyalty to QLRH and pledged to “devote his full

business time and effort to the performance” of the Employment Agreement and to his

duties as described therein, using “his best efforts to advance the business and welfare” of

QLRH. Notwithstanding those provisions, the Employment Agreement permitted Michael

Mobley to continue to manage and operate the Mobley Affiliates “in the same manner as

such entities are currently managed and operated” as of the Closing Date, “so long as such

management and operation do not materially interfere with [Michael Mobley’s] fulfillment

of his obligations and duties under this Agreement.”


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       47.    In addition to his covenants regarding non-competition and non-solicitation

in § 5.07 of the Purchase Agreement, Michael Mobley agreed to several covenants

regarding non-competition and non-solicitation in § 2 of the Employment Agreement. In §

2.2, Michael Mobley covenanted that during his term of employment with QLRH and for

two years following termination of his employment, he would not, “directly or indirectly,

engage or invest in, own, manage, operate, finance, control, or participate in the ownership,

management, operation or control of, be employed by, lend credit to, render consulting or

other services or advice to, or assist in any way, any Person which is in direct or indirect

competition with the Business” in North America or any other country within which QLRH

has provided products or services or offered to provide products or services.

       48.    The Employment Agreement defines “Business” as including the provision

of wellsite construction, production, and support services to the oilfield industry, including

“rental equipment, rig housing and accommodations, water and sewer systems, power

supply, frac tank services, vacuum truck services, waste management, water hauling,

liquids and solid control, completion fluids, gravel trucks, roustabout crews, heavy hauling,

transfer equipment, securing rights and permits, clearing and leveling of land, building of

roads & pads, and pipeline construction.” As in the Purchase Agreement, § 2.2 of the

Employment Agreement included a narrow carve-out for the lines of business conducted

by the Mobley Affiliates as they existed on the Closing Date. For those lines of business

competitive with QLRH’s business, § 2.2’s carve-out is subject to Michael Mobley’s

agreement that, absent written consent from QLRH, he would not permit the Mobley




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Affiliates “to expand or increase such operations in any manner that would have an adverse

effect” on QLRH’s Business.

       49.    In § 2.3 of the Employment Agreement, Michael Mobley covenanted that,

during his term of employment with QLRH and for two years following termination of his

employment, he would not, and would not permit affiliated entities including the Mobley

Affiliates, to do any of the following, “directly or indirectly, individually or in combination

with others, including as a partner, member, shareholder, manager, director, officer,

independent contractor, employee, consultant, joint venture, or otherwise”:

              a.     solicit or counsel any “Restricted Person” to terminate any business
                     relationship with QLRH or commence a similar business relationship
                     with anyone in direct or indirect competition with the Business in
                     North America or any other country within which QLRH has provided
                     products or services or offered to provide products or services;

              b.     accept, with or without solicitation, any business from any “Restricted
                     Person” of a nature or type provided by the Business;

              c.     solicit or counsel any of the employees, agents, or independent
                     contractors of QLRH to terminate their relationship with QLRH;

              d.     hire any employee, agent or independent contractor who worked for
                     QLRH during the 12 months before such hiring;

              e.     interfere with, adversely affect, or cause or seek to cause the
                     termination of, any agreement or arrangement of any kind to which
                     QLRH is a party or from which it benefits;

              f.     seek to interfere with or adversely affect the ongoing relationships
                     between QLRH and its suppliers, customers, or professional and
                     business contacts.

The Employment Agreement defines “Restricted Person” as any person who was or is a

customer, supplier, vendor, or business associate of QLRH, or with whom QLRH solicited

business or discussed a potential business relationship during the two years prior to the


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termination of Michael Mobley’s employment at QLRH, regardless of that person’s

location. Notably, § 2.3 does not contain any carve-out from the non-solicitation covenants

for the Mobley Affiliates.

       50.    Section 4 of the Employment Agreement required Michael Mobley to keep

in strict secrecy and confidence any and all information (regardless of format) that he

obtained, developed, or had access to during the course of his relationship with QLRH,

including, but not limited to: (a) customer and supplier lists, records, and technical data;

(b) information regarding sales, costs, pricing, marketing, and contracts with third parties;

(c) plans for product, market, or service developments or improvements; and (d) any other

information that derives economic value, either directly or indirectly, from being

confidential, proprietary, or a trade secret of QLRH or its actual or potential customers

(“Confidential Information”). Further, § 4 of the Employment Agreement provided that

such Confidential Information “is and shall remain the property of” QLRH, both during his

term of employment with QLRH and after termination of his employment, and that Michael

Mobley would not, without QLRH’s prior written consent, use, disclose, or cause to be

disclosed any Confidential Information to any third party.

       51.    Contemporaneous with the execution of the Purchase Agreement and

Employment Agreement, Michael Mobley signed the Amended and Restated QLRH

Limited Liability Company Agreement (“QLRH LLC Agreement”), dated as of

December 31, 2012. A true and correct copy of the QLRH LLC Agreement is attached as

Exhibit E to the Counterclaims. In § 8.3(d) of the QLRH LLC Agreement, Michael

Mobley agreed to non-competition and non-solicitation covenants nearly identical to those


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Michael Mobley agreed to in § 2 of the Employment Agreement, effective for so long as

Sellers held an interest in QLRH and for a period of two years thereafter. The non-

competition and non-solicitation covenants in § 8.3(d) of the QLRH LLC Agreement do

not contain any carve-out for the Mobley Affiliates, Mikey Mobley, or Cody Mobley.

D.     MICHAEL MOBLEY AND AFFILIATES COMPETE WITH THE QUALITY COMPANIES
       IMMEDIATELY AFTER THE CLOSING DATE

       52.     The moment after the Purchase Transaction closed in January 2013, the

revenues of QLRH began to decline precipitously as Michael Mobley, contrary to the terms

of the Purchase Agreement, Employment Agreement, and QLRH LLC Agreement, began

diverting revenues and assets of QLRH to the Mobley Affiliates. Michael Mobley spent

little time or effort in maintaining or developing the business of the Quality Companies.

Instead, Michael Mobley devoted his time and virtually all his attention to increasing and

expanding the service lines of the Mobley Affiliates in such a manner that they would be

in direct competition with the Quality Companies.

       53.     Michael Mobley utilized and exploited his personal relationships with QLS

employees, and particularly with its sales personnel, to enlist their assistance in diverting

work orders and ultimately revenues from the Quality Companies to the Mobley Affiliates

and directed QLS employees and personnel to perform services on behalf of the Mobley

Affiliates at no cost.

       54.     Among other acts, Michael Mobley caused new, incoming work orders from

customers of the Quality Companies to be diverted and performed by QCE and to TQ Mats.

Sales staff on the payroll of the Quality Companies originated new work orders for the

Mobley Affiliates rather than for the Quality Companies (their employer), despite the

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customers requesting wellsite construction, support, and equipment rental—the very

services that the Quality Companies had provided in the past to the same customers.

Making matters worse, many of these diverted work orders came from the Quality

Companies’ largest customers, such as GeoSouthern Energy Corp. (“GeoSouthern”).

Michael Mobley, through past financial reports and statements in the Purchase Agreement,

represented to QLRH that these customers were among the most significant revenue

sources for the Quality Companies, representations that played a major part in QLRH’s

decision to purchase the Quality Companies. By diverting these revenues post-sale, not

only was QLRH deprived of these revenues, but its new in-house competitors gained a

foothold in the market and funding to expand further, while the Quality Companies footed

the salaries and the costs associated for these competitors to acquire the Quality

Companies’ revenue streams.

       55.     In addition to diverted work orders, the Quality Companies were deprived of

substantial income from, and use of, its Closed Loop Mud Systems (“Closed Loop

Systems”).3 The Closed Loop Systems were assets of the Quality Companies and included

with the conveyed assets on Schedule 3.10(a) of the Purchase Agreement. After the Closing

Date, however, Michael Mobley began contending that the Closed Loop Systems belonged

to QCE, despite the listing in the Purchase Agreement and numerous invoices before the

sale showing QLS renting out the Closed Loop Systems to GeoSouthern and other

customers. Based on his unfounded allegations that QCE owned the Closed Loop Systems,



3
 A closed loop mud system is a series of tanks and pumps used at a drilling site in the management
and storage of drilling mud, fluids, and cuttings.
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Michael Mobley caused QCE to fill new work orders for the system from GeoSouthern

and collect hundreds of thousands in rental revenues. Jeff Hunt, a Rocaceia employee,

confronted Michael Mobley about the use of the Closed Loop Systems, showing him

Schedule 3.10(a). In response, Mobley simply tore up the schedule handed to him and

stated bluntly that the Closed Loop Systems were not sold. Before the Purchase

Transaction, the Closed Loop Systems represented $800–$1,000 of revenue per day, in

addition to revenues from associated moving and rigging charges.

      56.    QCE quickly became one of the principal entities through which Michael

Mobley diverted the Quality Companies’ revenue. Before the Purchase Transaction, QCE

was an equipment supply company with operations limited to the sale of pipe fittings and

the leasing of a specific piece of equipment: a “gas buster” or mud-gas separator. In the

days and weeks after the sale, however, Michael Mobley, with the assistance of his son

Mikey, caused QCE to acquire over $2,500,000 in equipment of the same type used by the

Quality Companies, including vacuum trucks, frac tanks, and trucks. Michael Mobley then

used this equipment to expand the lines of business of the Mobley Affiliates so that they

competed with the Quality Companies. Michael Mobley dispatched this newly acquired

equipment to perform wellsite services for the customers of the Quality Companies while

permitting QLRH equipment to remain idle. For instance, at a time when QLS was

supposedly unable to deliver vacuum truck services because of a shortage of drivers,

Michael Mobley caused QCE to employ the drivers that worked for QLS and directed them

to drive the newly acquired QCE vacuum trucks for the benefit of QCE.




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       57.    On or about March 16, 2013, QLRH CEO Martin, together with QLRH CFO

Michael Eitler and QLRH VP Douglas Licker, met with Michael Mobley and Yvette

Mobley at Yvette’s home to discuss and determine the cause of the precipitous drop in

revenues that the newly acquired companies were experiencing. At the instruction of

Michael and Yvette Mobley, Mikey and Cody Mobley appeared at the meeting shortly after

it began. Throughout the meeting, Martin, Eitler, and Licker felt physically threatened.

When questioned about the financial condition of the companies that were under his

management, Michael Mobley became extremely defensive and aggressive—at one point

violently picking up and slamming down a dining table. He threatened to “blow up” the

company and refused to return to QLRH the revenues that had been diverted to QCE and

TQ Mats. He added defiantly that he could sell the QCE to his sons.

E.     MICHAEL MOBLEY AND AFFILIATES SCRAMBLE TO CONCEAL THEIR CONDUCT

       58.    While still employed as a part of the QLRH management team, Mikey and

Cody Mobley made plans to use SLS, a new entity they had formed weeks earlier on March

22, 2013, to acquire QCE and disguise the fact that their parents Michael and Yvette

Mobley were using SLS to evade their legal obligations to QLRH. On April 5, 2013, Mikey

and Cody Mobley resigned their management positions with QLRH.

       59.    The next day on April 6, 2013, Michael, Mikey, and Cody Mobley appeared

at the QLRH offices alleging that they brought a sheriff’s deputy in order to gain access to

the facilities. In reality, they did not have any deputy with them and were instead attempting

to trespass. Security guards hired by QLRH asked them to leave and stopped them from

entering the facilities, at which point Michael and Mikey Mobley attempted to access the


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upstairs offices by force. QLRH’s security guards again stopped them. After the brief

altercation, Martin advised Michael Mobley that QLRH was terminating Yvette Mobley

and placing Michael Mobley on paid administrative leave in an effort to prevent QLRH’s

complete destruction.

       60.    On April 17, 2013, Michael and Yvette Mobley signed documents that

purported to sell all of their stock in QCE to SLS. Mikey and Cody Mobley, through SLS,

agreed to a $3.6 million purchase price for QCE’s stock. The sale of QCE, however, was a

sham. In addition to effectively gifting QCE to SLS, around the same time, Michael and

Yvette Mobley transferred a total of $3.6 million in “loans” to QCE and SLS through an

intermediary. Yvette Mobley also transferred over $3 million to Cody Mobley purportedly

in the form of “loans,” which he then deposited in Solid Liberty and QCE accounts to fund

competing operations. Almost immediately after opening its doors, Solid Liberty began

“leasing” real estate from Michael Mobley for Solid Liberty’s office and yard, but as with

the illusory loans and sale, Solid Liberty was not required to make lease payments. After

QLRH later terminated the lease and vacated the El Campo Yard, Michael Mobley aided

Solid Liberty and QCE by allowing them to move operations to the El Campo Yard, on

information and belief, under another pretense of a paying lease. The purpose of these sham

transactions was a thinly veiled attempt to evade the non-compete clauses applicable to

Michael Mobley under the Purchase Agreement, Employment Agreement, and QLRH LLC

Agreement. On April 19, 2013, Mikey and Cody Mobley formed a second entity, SLRS,

with the intent of using SLRS to compete with QLRH in the construction and rental of rig

housing. Michael Mobley directly or indirectly, managed, operated, or financed or


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participated in the management, operation, and/or financing of, and lent credit to SLS and

SLRS, both of which are in direct competition with the Quality Companies.

       61.    Much of the revenue QLRH lost from its major customers went directly to

Michael Mobley and the Mobley Affiliates. For instance, GeoSouthern, which Michael

Mobley represented in the Purchase Agreement as the Quality Companies’ second biggest

customer in both 2011 and 2012, only paid QCE approximately $640,000 and $450,000 in

total for products and services during those years, respectively. But in the first six months

of 2013 alone, GeoSouthern paid QCE $2.78 million—an amount that is almost identical

to revenues that the Quality Companies received from GeoSouthern for the first six months

of each 2011 and 2012. In fact, QCE’s revenues from GeoSouthern in the first half of 2013

represent a massive expansion of QCE’s business as of the Closing Date, as they are more

than double of QCE’s total revenue from all customers of $1.2 million in 2012.

       62.    While QLRH was attempting to rescue the Quality Companies from the

Mobleys’ systematic and widespread looting, the Mobleys shamelessly set out to hire away

QLRH and the Quality Companies’ key employees, in direct violation of the Purchase

Agreement, Employment Agreement, and QLRH LLC Agreement. In the first few weeks

after the Closing Date, the Mobleys caused QCE to hire away several employees of QLRH,

including drivers, roustabouts, and other employees of the Quality Companies. By late

2013, QCE employed over 35 former QLRH employees, including virtually all of QLRH’s

former sales staff. For example, at the time of the Purchase Transaction, Stacy Metting and

Amy Eubanks were sales representatives for QLRH, but by October 2013, both were sales




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representatives for QCE. Not surprisingly, when key sales personnel left the Quality

Companies, so did many customers.

      63.    As time went on, QLRH learned of additional false representations in the

Purchase Agreement. For instance, the Purchase Agreement stated that the Quality

Companies were in compliance with the Fair Labor Standards Act. Yet an audit by the

Department of Labor found that certain salaried QLS employees were actually non-exempt

employees under the Fair Labor Standards Act, and thus were entitled to overtime for all

hours worked in excess of 40 hours in a work week. After reaching a settlement with the

Department of Labor, QLRH was required to pay $94,283.33 in back wages, and

$94,283.33 in liquidated damages.

F.    LITIGATION AND BANKRUPTCY

      64.    On April 8, 2013, QLRH filed a complaint in the United States District Court

for the Middle District of Florida, Tampa Division, asserting claims for breach of the

Employment Agreement, breach of fiduciary duties in connection with Mobley’s position

as president of QLRH, and fraudulent inducement. Two days later, Michael Mobley,

Yvette Mobley, TQ Mats, TQ Gate, Quality Lease Air Service, LLC, and QCE filed a

Petition and Application for Temporary Restraining Order and Temporary Injunction in

the 329th Judicial District Court in Wharton County, Texas. QLRH voluntarily dismissed

the action it commenced in Florida and asserted counterclaims in the action pending in

Wharton County (the “Original Action”) mirroring those it made in the Florida complaint.

      65.    As a direct result of Michael Mobley’s false representations, fraud, breaches

of fiduciary duty, and willful injurious conduct, Plaintiffs filed Chapter 11 bankruptcy


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petitions on October 1, 2014. Pursuant to 28 U.S.C. § 1452 and Federal Rule of Bankruptcy

Procedure 9027, the Plaintiffs removed the Original Action on October 8, 2014.

       66.    On July 17, 2019, the Original Action was referred back to the United States

District Court for trial. The Original Action was set for trial in District Court on January

24, 2022.

       67.    On January 21, 2022, Michael Mobley filed a voluntary petition for relief

under Chapter 11 of Title 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the Southern District of Texas, along with a Suggestion of Bankruptcy in the Original

Action, halting the scheduled trial and staying Plaintiffs’ prosecution of its claims against

Michael Mobley.

                              CONDITIONS PRECEDENT

       68.    All conditions precedent have been performed or occurred.

                                 CLAIMS FOR RELIEF

                    FIRST CLAIM FOR RELIEF: STATUTORY FRAUD

       69.    Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.

       70.    Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

              (2) For money, property, [or] services ... to the extent obtained by…

                     (A) false pretenses, a false representation, or actual fraud…

              (6) for willful and malicious injury by the debtor to another entity or
                   to the property of another entity.


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       71.    The Purchase Transaction is a transaction involving real estate or stock in a

corporation or joint stock company within the meaning of Texas Business and Commerce

Code § 27.01.

       72.    In negotiating the Purchase Transaction, Michael Mobley made numerous

material misrepresentations or false representations of past or existing fact that constituted

actual fraud and operated as willful and malicious injury to QLRH and its property.

Michael Mobley, directly or indirectly, provided to QLRH and its agents Financial

Statements, the Sellers Disclosure, and other diligence materials that grossly distorted the

financial and operating condition of the Quality Companies. Specifically, Michael Mobley:

              a.     misrepresented that he had no reason to believe that any of the Quality
                     Companies’ Material Customers would not repeat their use of the
                     Quality Companies’ goods or services or materially reduce their
                     relationship with the Quality Companies, in each case, after the
                     Closing Date;

              b.     misrepresented the tangible assets belonging to the Quality
                     Companies that were to be conveyed in the Purchase Transaction;

              c.     misrepresented in the Sellers’ Disclosure that the tangible assets
                     belonging to the Quality Companies were in good operating condition
                     and not in need of any non-routine maintenance or repair;

              d.     misrepresented in the Sellers’ Disclosure that the Quality Companies
                     did not use any equipment in connection with their business that the
                     Quality Companies did not own;

              e.     misrepresented during the due diligence process that QCE was simply
                     “an equipment and connection company that buys and sells used
                     equipment, pipes and tanks” and that QCE used “QLS or other
                     contractors to rig down and move equipment”; and

              f.     misrepresented during the due diligence process that QCE had
                     $700,000 in inventory, a figure that is either understated by
                     approximately $300,000 or false in characterizing equipment held for
                     rental as inventory.


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       73.    Michael Mobley knew that the foregoing material misrepresentations were

false and misleading when made prior to the Closing Date. Michael Mobley made identical

false representations in the Purchase Agreement and had no intention of complying with

his obligations thereunder. Michael Mobley participated in the preparation of the Financial

Statements, Sellers’ Disclosure, and other diligence materials that were transmitted to

QLRH and its agents. Moreover, Michael Mobley had operated the Quality Companies for

nearly two decades prior to the Purchase Transaction. Through his role in managing the

operations and finances of those companies, Michael Mobley understood that the

information contained in the Financial Statements and other diligence materials was false

and grossly inaccurate. The facts described above were not known to QLRH or its agents

and could not have been discovered through the exercise of ordinary diligence.

       74.    Michael Mobley also falsely represented that following the Purchase

Transaction, he would continue to operate the Mobley Affiliates in the same manner and

to the same extent conducted as of the Closing Date and would not permit the Mobley

Affiliates to expand or increase their operations to compete with QLRH and the Quality

Companies. Michael Mobley had no intention of honoring and complying with those

promises at the time they were made, as evidenced by QCE’s rapid expansion of its

equipment purchases starting a mere three days after the Closing Date. In negotiating the

Purchase Transaction, Michael Mobley misrepresented that QCE’s inventory was valued

at $700,000 and by characterizing its assets as inventory rather than rental equipment that

could be used to compete with QLRH and the Quality Companies. By the time QCE was




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purportedly sold to SLS less than four months after the Closing Date, QCE had equipment

valued at approximately $3 million.

       75.     Moreover, Michael Mobley knew that certain material customers would

either cease doing business or would materially reduce their business with the Quality

Companies after the Closing Date, yet Michael Mobley made false representations in this

regard and failed to disclose this to QLRH or its agents before the finalizing the Purchase

Transaction.

       76.     Michael Mobley intentionally made the foregoing misrepresentations for the

purposes of inflating the Purchase Price and inducing QLRH to enter into the Purchase

Transaction. Michael Mobley made those misrepresentations willingly and knowing, or

having reason to expect, that QLRH and its agents would use the information in the

Financial Statements, Sellers Disclosure, and other diligence materials in negotiating a

Purchase Price and in ultimately deciding whether to enter into the Purchase Transaction.

Michael Mobley represented to QLRH and its agents that the Financial Statements, the

Sellers’ Disclosure, and other diligence materials accurately described the financial and

operating condition of QLS and QLRS. Similarly, Michael Mobley assured QLRH and its

agents that they would continue to operate the Mobley Affiliates in the same manner and

to the same extent conducted as of the Closing Date in order to induce QLRH to enter into

a Purchase Transaction that permitted Michael Mobley to carry on managing and operating

the Mobley Affiliates in such a manner.




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       77.    Michael Mobley benefitted from his false representations and promises

through the expansion of their respective businesses. These benefits came from using the

services of post-acquisition QLS employees without pay and from using the business

information conveyed to QLRH in the Purchase Transaction, including customer and

supplier information, development and business plans, vendor management information,

pricing and marketing information, target customer lists and contacts, rig housing design

and manufacturing information, and other specialized methods, processes, and techniques.

       78.    QLRH, by and through its agents, actually and justifiably relied on the false

representations in the Financial Statements and other diligence materials prepared and

transmitted by Michael Mobley (personally and through agents). The purpose of

disseminating such information is to grant prospective buyers like QLRH an opportunity

to vet the financial state of a potential acquisition. QLRH and its agents justifiably believed

that the information contained therein would be accurate, particularly given Michael

Mobley’s representations that the audited and unaudited Financial Statements had been

prepared in accordance with GAAP and fairly depicted the financial condition of the

Quality Companies. QLRH, by and through its agents, also actually and justifiably relied

on Michael Mobley’s false promises regarding the Mobley Affiliates by entering into a

Purchase Transaction that permitted Michael Mobley to carry on managing and operating

the Mobley Affiliates.

       79.    Accordingly, QLRH and its agents used the false and misleading information

conveyed by Michael Mobley in deciding whether to engage in the Purchase Transaction

and in arriving at a Purchase Price. The cumulative effect of the false representations and


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promises made by Michael Mobley was to greatly overstate the value of the assets, past

and potential earnings, and revenue streams to be acquired by QLRH in the Purchase

Transaction, and to vastly understate the Quality Companies’ liabilities and operating costs.

       80.    In reliance on Michael Mobley’s material misrepresentations described

above, QLRH entered into the Purchase Transaction. Had Michael Mobley not made the

foregoing false representations and promises, QLRH would not have consummated the

Purchase Transaction. Thus, as a direct and proximate cause of Michael Mobley’s false

pretenses, false representations and fraudulent conduct, Plaintiffs suffered substantial

monetary losses amounting to tens of millions of dollars. QLRH, for itself and as the

Quality Companies’ assignee, now seeks rescissory and/or compensatory damages that are

excepted from discharge under 11 U.S.C § 523(a). Because Michael Mobley had actual

knowledge of the above-described false representations and promises, QLRH is also

entitled to recover exemplary damages, which Plaintiffs also seek to be excepted from

discharge under 11 U.S.C § 523(a).

       81.    Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through false pretenses, false representations,

and fraudulent conduct, and caused willful and malicious injury to QLRH through the

conduct described above. This has created debts owed by Michael Mobley to Plaintiffs that

should be excepted from and denied discharge under 11 U.S.C. § 523(a)(2), (a)(6).

    SECOND CLAIM FOR RELIEF: FRAUD BY AFFIRMATIVE MISREPRESENTATION

       82.    Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.


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       83.    Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

              (2) For money, property, [or] services ... to the extent obtained by…

                     (A) false pretenses, a false representation, or actual fraud…

              (6) for willful and malicious injury by the debtor to another entity or
                   to the property of another entity.

       84.    In marketing to and negotiating with QLRH regarding the purchase of the

Quality Companies, Michael Mobley made material false representations of past or

existing fact that constituted actual fraud and operated as willful and malicious injury to

QLRH and its property. Michael Mobley, directly or indirectly, provided to QLRH and its

agents Financial Statements, the Sellers’ Disclosure, and other diligence materials that

grossly distorted the financial condition of the Quality Companies. Specifically, Michael

Mobley:

              a.     misrepresented that they had no reason to believe that any of the
                     Quality Companies’ Material Customers would not repeat their use of
                     the Quality Companies’ goods or services or materially reduce their
                     relationship with the Quality Companies, in each case, after the
                     Closing Date;

              b.     misrepresented the tangible assets belonging to the Quality
                     Companies that were to be conveyed in the Purchase Transaction;

              c.     misrepresented in the Sellers’ Disclosure that the tangible assets
                     belonging to the Quality Companies were in good operating condition
                     and not in need of any non-routine maintenance or repair;

              d.     misrepresented in the Sellers’ Disclosure that the Quality Companies
                     did not use any equipment in connection with their business that the
                     Quality Companies did not own;



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             e.     misrepresented during the due diligence process that QCE was simply
                    “an equipment and connection company that buys and sells used
                    equipment, pipes and tanks” and that QCE used “QLS or other
                    contractors to rig down and move equipment”; and

             f.     misrepresented during the due diligence process that QCE had
                    $700,000 in inventory, a figure that is either understated by
                    approximately $300,000 or false in characterizing equipment held for
                    rental as inventory.

      85.    Michael Mobley knew that the foregoing material misrepresentations were

false and misleading when made prior to the Closing Date. Michael Mobley made identical

false representations in the Purchase Agreement and had no intention of complying with

their obligations thereunder. Michael Mobley participated in the preparation of the

Financial Statements, Sellers’ Disclosure, and other diligence materials that were

transmitted to QLRH and its agents. Moreover, Michael Mobley had operated the Quality

Companies for nearly two decades prior to the Purchase Transaction. Through his role in

managing the operations and finances of those companies, Michael Mobley understood

that the information contained in the Financial Statements and other diligence materials

was false and grossly inaccurate. The facts described above were not known to QLRH or

its agents and could not have been discovered through the exercise of ordinary diligence.

      86.    Further, Michael Mobley falsely represented that following the Purchase

Transaction, he would continue to operate the Mobley Affiliates in the same manner and

to the same extent conducted as of the Closing Date, and would not permit the Mobley

Affiliates to expand or increase their operations to compete with QLRH. Michael Mobley

had no intention of honoring and complying with those promises at the time they were

made, as evidenced by QCE’s rapid expansion of its equipment purchases starting a mere


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three days after the Closing Date. In negotiating the Purchase Transaction, Michael

Mobley misrepresented that QCE’s inventory was valued at $700,000 and by

characterizing its assets as inventory rather than rental equipment that could be used to

compete with QLRH and the Quality Companies. By the time QCE was purportedly sold

to SLS less than four months after the Closing Date, QCE had equipment valued at

approximately $3 million.

      87.      Moreover, Michael Mobley knew that certain material customers would

either cease doing business or would materially reduce their business with the Quality

Companies after the Closing Date, yet Michael Mobley made false representations in this

regard and failed to disclose this to QLRH or its agents before finalizing the Purchase

Transaction.

      88.      Michael Mobley intentionally made the foregoing misrepresentations for the

purposes of inflating the Purchase Price and inducing QLRH to enter into the Purchase

Transaction. Michael Mobley made those misrepresentations willingly and knowingly, or

having reason to expect, that QLRH and its agents would use the information in the

Financial Statements, Sellers’ Disclosure, and other diligence materials in negotiating a

Purchase Price and in ultimately deciding whether to enter into the Purchase Transaction.

Michael Mobley represented to QLRH and its agents that the Financial Statements and

other diligence materials accurately described the operating and financial condition of the

Quality Companies. Similarly, Michael Mobley assured QLRH and its agents that he would

continue to operate the Mobley Affiliates in the same manner and to the same extent

conducted as of the Closing Date in order to induce QLRH to enter into a Purchase


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Transaction that permitted Michael and Yvette Mobley to carry on managing and operating

the Mobley Affiliates in such a manner.

       89.    QLRH, by and through its agents, actually and justifiably relied on the false

representations in the Financial Statements, Sellers’ Disclosure, and other diligence

materials prepared and transmitted by Michael Mobley. The purpose of disseminating such

information is to grant prospective buyers like QLRH an opportunity to vet the financial

state of a potential acquisition. QLRH and its agents justifiably believed that the

information contained therein would be accurate, particularly given Michael Mobley’

representations that the audited and unaudited Financial Statements had been prepared in

accordance with GAAP and fairly depicted the financial condition of the Quality

Companies. QLRH, by and through its agents, also actually and justifiably relied on

Michael Mobley’s false promises regarding the Mobley Affiliates by entering into a

Purchase Transaction that permitted Michael Mobley to carry on managing and operating

the Mobley Affiliates.

       90.    Accordingly, QLRH and its agents used the false information conveyed by

Michael Mobley in deciding whether to engage in the Purchase Transaction and in arriving

at a Purchase Price. The cumulative effect of the false representations and promises made

by Michael Mobley was to greatly overstate the value of the assets, past and potential

earnings, and revenue streams to be acquired by QLRH in the Purchase Transaction, and

to vastly understate the Quality Companies’ liabilities and operating costs.




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       91.    In reliance on Michael Mobley’s material misrepresentations described

above, QLRH entered into the Purchase Transaction. Had Michael Mobley not made the

foregoing affirmative misrepresentations, QLRH would not have consummated the

Purchase Transaction. Thus, as a direct and proximate cause of Michael Mobley’s

fraudulent conduct, Plaintiffs suffered substantial losses amounting to tens of millions of

dollars. QLRH, for itself and as the Quality Companies’ assignee, now seeks rescissory

and/or compensatory damages that are excepted from discharge under 11 U.S.C § 523(a).

       92.    Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through false pretenses, false representations,

and fraudulent conduct, and caused willful and malicious injury to QLRH through the

conduct described above. This has created debts owed by Michael Mobley to Plaintiffs that

should be excepted from and denied discharge under 11 U.S.C. § 523(a)(2), (a)(6).

               THIRD CLAIM FOR RELIEF: FRAUD BY NON-DISCLOSURE

       93.    Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.

       94.    Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

              (2) For money, property, [or] services ... to the extent obtained by…

                     (A) false pretenses, a false representation, or actual fraud…

              (6) for willful and malicious injury by the debtor to another entity or
              to the property of another entity.




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       95.    Michael Mobley made numerous material omissions that constituted actual

fraud and operated as willful and malicious injury to QLRH and its property. Michael

Mobley had a duty to disclose material facts to QLRH and its agents regarding the financial

condition of the Quality Companies that were not contained in the Financial Statements,

Sellers Disclosure, and other diligence materials disseminated by Michael Mobley.

Michael Mobley disclosed to QLRH certain facts regarding the Quality Companies’

financial condition that created a material and false impression with respect to the Quality

Companies’ profitability and value. Thus, Michael Mobley had a duty to disclose the entire

truth regarding the Quality Companies’ financial condition. Michael Mobley’s duty of full

disclosure was further memorialized in § 3.25 of the Purchase Agreement, where Michael

Mobley warranted that no document had been furnished to QLRH in connection with the

Purchase Transaction that omitted “a material fact necessary to make the statements

contained therein, in light of the circumstances in which they are made, not misleading.”

       96.    Among other things, Michael Mobley failed to disclose the following:

              a.     that the Quality Companies’ profitability and earnings levels as
                     reported in the Financial Statements and other due diligence materials
                     reflected revenues from Closed Loop Systems and mud hauling,
                     which Seller knew would not continue after the Purchase Transaction;

              b.     that they had reason to believe that the Quality Companies’ Material
                     Customers would not repeat their use of the Quality Companies’
                     goods or services or would materially reduce their relationship with
                     the Quality Companies, in each case, after the Closing Date;

              c.     that the Quality Companies’ profitability and earnings levels as
                     reported in the Financial Statements and other due diligence materials
                     had been achieved through a pattern and practice of overbilling
                     customers of QLS and QLRS;



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              d.     that the Quality Companies’ Financial Statements did not properly
                     account for the cost of equipment and services that Sellers would
                     allege was provided by QCE at no cost prior to the Purchase
                     Transaction;

              e.     that following the Purchase Transaction, QCE would begin charging
                     the Quality Companies’ for the cost of equipment and services
                     provided to such an extent that QCE would become one of their most
                     significant vendors;

              f.     that Michael Mobley would allege that the equipment necessary to
                     operate the Closed Loop System business conducted by the Quality
                     Companies prior to the Purchase Transaction actually belonged to
                     QCE and would not be conveyed to QLRH.

       97.    Michael Mobley knowingly concealed the existence of the foregoing

material facts from QLRH and its agents with the specific intent that they rely on the

Financial Statements and other diligence materials in deciding whether to enter into the

Purchase Transaction. Michael Mobley participated in the preparation of the Financial

Statements and other diligence materials that were transmitted to QLRH and its agents.

Moreover, Michael Mobley had operated the Quality Companies for nearly two decades

prior to the Purchase Transaction. Through his role in managing the operations and

finances of those companies, Michael Mobley understood that the information contained

in the Financial Statements and other diligence materials was grossly inaccurate. The facts

described above were not known to QLRH or its agents and could not have been discovered

through the exercise of ordinary diligence. Michael Mobley represented to QLRH and its

agents that the Financial Statements and other diligence materials accurately described the

financial condition of the Quality Companies.




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       98.    QLRH, by and through its agents, actually and justifiably relied on the false

representations in the Financial Statements and other diligence materials prepared and

transmitted by Michael Mobley. The purpose of disseminating such information is to grant

prospective buyers like QLRH an opportunity to vet the financial state of a potential

acquisition. QLRH and its agents justifiably believed that the information contained therein

would be complete and accurate, particularly given Michael Mobley’s representations that

the audited and unaudited Financial Statements had been prepared in accordance with

GAAP and fairly depicted the financial condition of the Quality Companies.

       99.    Accordingly, QLRH and its agents used the false information conveyed by

Michael Mobley and were deprived of material information as a result of the omissions of

Michael Mobley in deciding whether to engage in the Purchase Transaction and in arriving

at a Purchase Price. The cumulative effect of the omissions made by Michael Mobley was

to greatly overstate the value of the assets, past and potential earnings, and revenue streams

to be acquired by QLRH in the Purchase Transaction, and to vastly understate the Quality

Companies’ liabilities and operating costs. Had Michael Mobley disclosed the above-

described omitted material facts, QLRH would not have consummated the Purchase

Transaction. Thus, as a direct and proximate cause of Michael Mobley’s fraudulent

conduct, Plaintiffs suffered substantial losses amounting to tens of millions of dollars.

QLRH, for itself and as the Quality Companies’ assignee, now seeks rescissory and/or

compensatory damages that are excepted from discharge under 11 U.S.C § 523(a).




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       100.   Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through false pretenses, false representations,

and fraudulent conduct, and caused willful and malicious injury to QLRH through the

conduct described above. This has created debts owed by Michael Mobley to Plaintiffs that

should be excepted from and denied discharge under 11 U.S.C. § 523(a)(2), (a)(6).

                   FOURTH CLAIM FOR RELIEF: SECURITIES FRAUD

       101.   Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.

       102.   Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

              (2) For money, property, [or] services ... to the extent obtained by…

                     (A) false pretenses, a false representation, or actual fraud…

              (6) for willful and malicious injury by the debtor to another entity or
                  to the property of another entity.

       103.   The interests in the Quality Companies sold to QLRH and the notes conveyed

to Sellers as consideration for those interests in the Purchase Transaction were “Securities”

as defined by the 1934 Act, 15 U.S.C. §78c.

       104.   Michael Mobley engaged in an unlawful combination, conspiracy, and

course of conduct, employed a scheme to defraud, made untrue statements of material facts

or omitted material facts, provided false or misleading documents, and engaged in acts,

practices, and courses of business and conduct which operated as actual fraud upon QLRH,

and caused willful and malicious injury to QLRH, in connection with the purchase and sale

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of securities, in violation of § 10 of the 1934 Act, 15 U.S.C. § 78j, and Rule 10b-5

promulgated thereunder.

      105.   Specifically, Michael Mobley:

             a.    misrepresented that they had no reason to believe that the Quality
                   Companies’ Material Customers would not repeat their use of the
                   Quality Companies’ goods or services or would materially reduce
                   their relationship with the Quality Companies, in each case, after the
                   Closing Date;

             b.    misrepresented the tangible assets belonging to the Quality
                   Companies that were to be conveyed in the Purchase Transaction;

             c.    misrepresented that the tangible assets belonging to the Quality
                   Companies were in good operating condition and not in need of any
                   non-routine maintenance or repair;

             d.    misrepresented that the Quality Companies did not use any equipment
                   in connection with their business that the Quality Companies did not
                   own;

             e.    misrepresented that the Quality Companies had exclusive and
                   proprietary rights to trade secrets possessed by the Quality Companies
                   that were to be conveyed in the Purchase Transaction, including
                   customer information, development and business plans, vendor
                   management, pricing information, target customer lists and contacts,
                   and rig housing design and manufacturing information;

             f.    misrepresented during the due diligence process that QCE was simply
                   “an equipment and connection company that buys and sells used
                   equipment, pipes and tanks” and that QCE used “QLS or other
                   contractors to rig down and move equipment”; and

             g.    misrepresented during the due diligence process that QCE had
                   $700,000 in inventory, a figure that by Michael Mobley’s own
                   admission was understated by approximately $300,000.

      106.   Among other things, Michael Mobley also failed to disclose the following:

             a.    that the Quality Companies’ profitability and earnings levels as
                   reported in the Financial Statements and other due diligence materials
                   reflected revenues from Closed Loop Systems and mud hauling,
                   which Seller knew would not continue after the Purchase Transaction;

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             b.     that they had reason to believe that the Quality Companies’ Material
                    Customers would not repeat their use of the Quality Companies’
                    goods or services or would materially reduce their relationship with
                    the Quality Companies, in each case, after the Closing Date;

             c.     that the Quality Companies’ Financial Statements did not properly
                    account for the cost of equipment and services that Sellers would
                    allege was provided by QCE at no cost prior to the Purchase
                    Transaction;

             d.     that following the Purchase Transaction, QCE would begin charging
                    the Quality Companies’ for the cost of equipment and services
                    provided to such an extent that QCE would become one of their most
                    significant vendors;

             e.     that Michael Mobley would allege that the equipment necessary to
                    operate the Closed Loop System business conducted by the Quality
                    Companies prior to the Purchase Transaction actually belonged to
                    QCE and would not be conveyed to QLRH; and

             f.     that the Quality Companies owned significant revenues streams from
                    the sale of reclaimed oil stored in Quality Companies’ tanks, which
                    Sellers would wrongfully divert to themselves after the Closing Date.

      107.   QLRH, by and through its agents, actually and justifiably relied on the false

representations and omissions described above. The purpose of disseminating such

information during a due diligence process is to grant prospective buyers like QLRH an

opportunity to vet the financial state of a potential acquisition. QLRH and its agents

justifiably believed that the information received during its due diligence would be

complete and accurate, particularly given Michael Mobley’s representations that the

audited and unaudited Financial Statements had been prepared in accordance with GAAP

and fairly depicted the financial condition of the Quality Companies.

      108.   Accordingly, QLRH and its agents used the false information conveyed by

Michael Mobley and were deprived of material information as a result of the omissions of

Michael Mobley, in deciding whether to engage in the Purchase Transaction and in arriving

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at a Purchase Price. The cumulative effect of these false representations and omissions was

to greatly overstate the value of the assets, past and potential earnings, and revenue streams

to be acquired by QLRH in the Purchase Transaction, and to vastly understate the Quality

Companies’ liabilities and operating costs. Without these misrepresentations and

omissions, QLRH would not have consummated the Purchase Transaction. Thus, as a

direct and proximate cause of Michael Mobley’s fraudulent conduct, Plaintiffs suffered

substantial losses amounting to tens of millions of dollars. QLRH, for itself and as the

Quality Companies’ assignee, now seeks rescissory and/or compensatory damages that are

excepted from discharge under 11 U.S.C § 523(a).

       109.   Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through false pretenses, false representations,

and fraudulent conduct, and caused willful and malicious injury to QLRH through the

conduct described above. This has created debts owed by Michael Mobley to Plaintiffs that

should be excepted from and denied discharge under 11 U.S.C. § 523(a)(2), (a)(6).

            FIFTH CLAIM FOR RELIEF: BREACH OF PURCHASE AGREEMENT
                          AND QLRH LLC AGREEMENT

       110.   Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.

       111.   Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

              (2) For money, property, [or] services ... to the extent obtained by…

                     (A) false pretenses, a false representation, or actual fraud…

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             (4) For fraud or defalcation while acting in a fiduciary capacity,
                 embezzlement, or larceny…

             (6) for willful and malicious injury by the debtor to another entity or to the

                  property of another entity.

      112.   On December 31, 2012, Sellers and QLRH executed the Purchase

Agreement.

      113.   QLRH performed all of its obligations under the Purchase Agreement.

      114.   In Article III of the Purchase Agreement, Michael Mobley represented and

warranted to QLRH that the statements contained therein were true and correct as of

December 31, 2012. Among other things, Michael Mobley represented and warranted:

             a.     in § 3.06, that the Financial Statements included in the Disclosure
                    Schedules were complete, prepared in accordance with GAAP, and
                    “fairly present the financial condition” of the Quality Companies;

             b.     in § 3.10(a), that § 3.10(a) of the Disclosure Schedules was a true,
                    accurate and complete list of all vehicles, equipment, rig houses and
                    other tangible assets owned by and/or used in the business of the
                    Quality Companies;

             c.     in § 3.11, that the buildings, plants, structures, furniture, fixtures,
                    machinery, equipment, vehicles, and other items of tangible personal
                    property belonging to the Quality Companies were in good operating
                    condition and repair and that none required non-routine maintenance
                    or repairs;

             d.     in § 3.11, that the buildings, plants, structures, furniture, fixtures,
                    machinery, equipment, vehicles, and other items of tangible personal
                    property owned or leased by the Quality Companies constituted
                    everything necessary to continue conducting the business of the
                    Quality Companies in the same manner following the Purchase
                    Transaction;

             e.     in § 3.15(a), that Michael Mobley has not received any notice, or has
                    any reason to believe, that any the Quality Companies “Material
                    Customers” has ceased, or intends to cease after the Closing, to use
                    the goods or services of the Quality Companies or to otherwise

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                     terminate or materially reduce its relationship with the Quality
                     Companies;

              f.     in § 3.17, that there were no current or potential legal or governmental
                     proceedings involving or affecting the Quality Companies, or any of
                     those companies’ assets, and that nothing had occurred that would
                     give rise to, or serve as a basis for, future proceedings against the
                     Quality Companies;

              g.     in § 3.21, that there were no actions pending or threatened to be
                     brought or filed in connection with the employment of any current or
                     former applicant, employee, consultant, volunteer, or independent
                     contractor of the Quality Companies, including without limitation
                     “any claim relating to unfair labor practices, employment
                     discrimination, harassment, retaliation, equal pay, wage and hours or
                     any other employment related matter arising under applicable Laws”;

              h.     in Disclosure Schedules § 3.21, that neither of the Quality Companies
                     employed any independent contractors; and

              i.     in § 3.25, that “no representation or warranty by Sellers in this
                     Agreement and no statement contained in the Disclosure Schedules to
                     this Agreement or any certificate or other document furnished or to be
                     furnished to [QLRH] pursuant to this Agreement contains any untrue
                     statement of material fact, or omits to state a material fact necessary
                     to make the statements contained therein, in light of the circumstances
                     in which they are made, not misleading.”

       115.   Michael Mobley additionally made several covenants regarding non-

competition and non-solicitation in § 5.07 of the Purchase Agreement. In § 5.07(a),

Michael Mobley covenanted that, for a period of five years from the closing date, he would

not, and would not permit any of their “Affiliates,” to directly or indirectly: (a) engage in

or assist others in engaging in “Restricted Business” in North America; (b) hold an interest

in any entity that engages directly or indirectly in “Restricted Business” in North America

in any capacity; or (c) intentionally interfere in any material respect with the Quality

Companies’ business relationships with their customers or suppliers (whether formed prior

to or after the date of the Purchase Agreement). In § 5.07(b), Michael Mobley further

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covenanted that, for a period of five years from the Closing Date, he would not, and would

not permit any of their Affiliates to, directly or indirectly hire or solicit any employee of

the Quality Companies, or “encourage any such employee to leave such employment” or

“hire any such employee who has left such employment.” Similarly, Michael Mobley

covenanted in § 5.07(c) that, for a period of five years from the Closing Date, he would

not, and would not permit any of his Affiliates to, directly or indirectly “solicit or entice,

or attempt to solicit or entice” any of the Quality Companies’ actual or potential clients or

customers for the purposes of diverting their business or services from the Quality

Companies. As negotiated, the Mobley Affiliates were carved out from the non-

competition and non-solicitation covenants in § 5.07 of the Purchase Agreement, but only

to the extent that those entities continued to conduct their business “in the same manner

and to the same extent” as on the Closing Date.

       116.   In breach of the Purchase Agreement, Michael Mobley falsely certified that

the above-described representations and warranties in Article III were true and correct in

all respects as of the Closing Date. Michael Mobley knew or had reason to know that each

of those representations and warranties were untrue. For instance, Michael Mobley knew

or had reason to know that the Financial Statements and other diligence materials

transmitted to QLRH and its agents contained inaccurate or incomplete information that

distorted the financial condition of the Quality Companies, because Michael Mobley

participated directly in the preparation and provision of those materials. Michael Mobley

had operated the Quality Companies for nearly two decades prior to the Purchase

Transaction. Through his role in managing the operations and finances of those companies,


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Michael Mobley understood that the information contained in the Financial Statements and

other diligence materials was grossly inaccurate. Accordingly, Michael Mobley also knew

or had reason to know that the disclosure schedules attached to the Purchase Agreement

and other documents transmitted to QLRH in connection with the Purchase Transaction

contained numerous false statements of material fact and omitted a wide range of material

facts necessary to make the statements contained therein not false or misleading, contrary

to the representation and warranty Michael Mobley made in § 3.25.

      117.   Michael Mobley additionally knew or had reason to know that the

representations and warranties regarding the equipment and other assets of the Quality

Companies described in § 3.10(a) and § 3.11 were false. For instance, § 3.10(a) of the

disclosure schedules failed to list the equipment that the Quality Companies used in

connection with their Closed Loop System business prior to Purchase Transaction.

Following the Purchase Transaction, Michael caused QCE to bill QLS and QLRS rental

fees for the use of equipment needed to run the Closed Loop System business or in other

instances, caused QCE to collect rental payments from the Closed Loop System directly.

Accordingly, Michael Mobley knew or had reason to know that his representations and

warranties in § 3.11 regarding the Quality Companies’ equipment and other assets being

“sufficient for the continued conduct of [the Quality Companies’] business after the

Closing in substantially the same manner as conducted prior to the Closing and constitute

all of the rights, property and assets necessary to conduct the business of [the Quality

Companies] as currently conducted” were false. Finally, Michael Mobley knew or had

reason to know that several vehicles and pieces of equipment owned by the Quality


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Companies—for instance, the vacuum trucks—needed non-routine maintenance and

repairs of a material nature and cost.

       118.     Michael Mobley knew that the representations in § 3.15(a) regarding

continued business with Material Customers (defined as a source of annual revenues over

$25,000) were false. Michael Mobley admitted as much, stating after the Closing Date that

he knew, at the time the Purchase Transaction was being negotiated, that certain customers

generating over $50,000 in revenues for the Quality Companies would not repeat their

business or would materially reduce its relationship with the Quality Companies after the

Closing Date.

       119.     Michael Mobley knew or had reason to know that the above-described

representations and warranties from § 3.17 and § 3.21 regarding employment-related legal

or governmental investigations or proceedings were false. An audit by the Department of

Labor found that certain salaried QLS employees were actually non-exempt employees

under the Fair Labor Standards Act, and thus were entitled to overtime for all hours worked

in excess of 40 hours in a work week. After reaching a settlement with the Department of

Labor, QLRH was later required to pay $94,283.33 in back wages, and $94,283.33 in

liquidated damages.

       120.     Absent Michael Mobley falsely certifying the representations and warranties

they made in Article III of the Purchase Agreement, the Purchase Transaction would never

have closed. Under § 7.02 of the Purchase Agreement, QLRH’s obligations to consummate

the Purchase Transaction were conditioned upon those representations and warranties from

Michael Mobley being true and correct in all respects as of the Closing Date. Thus, but for


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Michael Mobley’s breaches of these representations and warranties, QLRH would not have

entered into the Purchase Transaction.

       121.   After the Closing Date, Michael Mobley further breached the non-

competition and non-solicitation covenants in § 5.07 of the Purchase Agreement while he

served in a fiduciary capacity for QLRH as its President. These breaches include, without

limitation:

              a.    soliciting and hiring employees, agents, or independent contractors of
                    QLRH and the Quality Companies to work for the Mobley Affiliates,
                    Solid Liberty, and/or other competing companies that Michael
                    Mobley owns or controls;

              b.    drastically expanding or permitting the expansion of the business of
                    the Mobley Affiliates to provide additional services in competition
                    with QLRH and the Quality Companies, including without limitation,
                    the leasing of Closed Loop Systems, vacuum truck services,
                    construction services, roustabout services, and other truck hauling
                    services;

              c.    expanding the businesses of the Mobley Affiliates and Solid Liberty
                    to include rig housing and accommodations;

              d.    soliciting and contacting customers of the Quality Companies to move
                    their business to the Mobley Affiliates or Solid Liberty;

              e.    contacting clients of the Quality Companies, and requesting that
                    accounts receivable due to the Quality Companies be paid directly to
                    Michael or Yvette Mobley and/or competing companies owned or
                    controlled by Michael or Yvette Mobley, including the Mobley
                    Affiliates and Solid Liberty;

              f.    accepting through the Mobley Affiliates and Solid Liberty business
                    from the Quality Companies’ customers of the same nature or type as
                    the Quality Companies previously provided to those customers;

              g.    financing or lending credit, directly or indirectly, to the Mobley
                    Affiliates, Mikey Mobley, Cody Mobley, and Solid Liberty for
                    purposes of competing with QLRH and the Quality Companies; and



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              h.     investing in, managing, operating, financing, rendering consulting
                     services to or assisting, directly or indirectly, the Mobley Affiliates,
                     Mikey Mobley, Cody Mobley, and Solid Liberty for purposes of
                     competing with QLRH and the Quality Companies.

As a consequence of Michael Mobley’s willful and malicious breaches of the non-

competition and non-solicitation covenants in § 5.07 of the Purchase Agreement, QLRH

and the Quality Companies sustained substantial injury and damages, including but not

limited to the loss of revenues, reputation, and customer goodwill.

       122.   On December 31, 2012, QLRH, Rocaceia, and Sellers executed the QLRH

LLC Agreement.

       123.   QLRH performed all of its obligations under the QLRH LLC Agreement.

       124.   In § 8.3(d) of the QLRH LLC Agreement, Michael Mobley agreed to non-

competition and non-solicitation covenants nearly identical to those Michael Mobley

agreed to in § 2 of the Employment Agreement, effective for so long as Sellers held an

interest in QLRH and for a period of two years thereafter.

       125.   Through the actions described in preceding paragraphs, Michael Mobley

willfully and maliciously breached the non-competition and non-solicitation covenants in

§ 8.3(d) of the QLRH LLC Agreement. As a consequence of Michael Mobley’s breaches

of the non-competition and non-solicitation covenants in § 8.3(d) of the QLRH LLC

Agreement, QLRH sustained substantial injury and damages, including but not limited to

the loss of revenues, reputation, and customer goodwill.

       126.   Accordingly, as a direct and proximate cause of Michael Mobley’s breaches

of the Purchase Agreement and the QLRH LLC Agreement, Plaintiffs suffered injury and

losses amounting to tens of millions of dollars. QLRH, for itself and as the Quality

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Companies’ assignee, now seeks rescissory and/or compensatory damages that are

excepted from discharge under 11 U.S.C § 523(a).

       127.    Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through fraud or defalcation while an officer

of QLRH, and caused willful and malicious injury to QLRH through the conduct described

above. This has created debts owed by Michael Mobley to Plaintiffs that should be

excepted from and denied discharge under 11 U.S.C. § 523(a)(2), (a)(4), (a)(6).

                SIXTH CLAIM FOR RELIEF: BREACH OF FIDUCIARY DUTY

       128.    Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.

       129.    Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

               (4) For fraud or defalcation while acting in a fiduciary capacity,
              embezzlement, or larceny…

               (6) for willful and malicious injury by the debtor to another entity or
              to the property of another entity.

       130.    As QLRH President, Michael Mobley owed fiduciary duties to QLRH,

including but not limited to: (a) the duty of loyalty; (b) the duty of utmost good faith; (c)

the duty of candor; (d) the duty to refrain from self-dealing; the duty not to usurp corporate

opportunities for personal gain; (e) the duty to act with integrity of the strictest kind; (f) the

duty of fair, honest dealing; (g) the duty of full disclosure; and (h) the duty to use

uncorrupted business judgment for the sole benefit of the company.


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       131.   Michael Mobley breached his fiduciary duties to QLRH, and caused willful

and malicious injury to QLRH, through actions including but not limited to:

              a.     soliciting and hiring employees, agents, or independent contractors of
                     QLRH and the Quality Companies to work for the Mobley Affiliates,
                     Solid Liberty, and/or other competing companies that Michael
                     Mobley owns or controls;

              b.     drastically expanding or permitting the expansion of the business of
                     the Mobley Affiliates to provide additional services in competition
                     with QLRH and the Quality Companies, including without limitation,
                     the leasing of Closed Loop Systems, vacuum truck services,
                     construction services, roustabout services, and truck hauling services;

              c.     expanding the businesses of the Mobley Affiliates and Solid Liberty
                     to include rig housing and accommodations;

              d.     soliciting and contacting customers of the Quality Companies to move
                     their business to the Mobley Affiliates or Solid Liberty;

              e.     contacting the Quality Companies’ clients, and requesting that
                     accounts receivable due to the Quality Companies be paid directly to
                     Michael or Yvette Mobley and/or competing companies owned or
                     controlled by Michael or Yvette Mobley, including the Mobley
                     Affiliates and Solid Liberty;

              f.     accepting, through the Mobley Affiliates and Solid Liberty, business
                     from the Quality Companies’ customers of the same nature or type as
                     the Quality Companies previously provided to those customers;

              g.     financing or lending credit, directly or indirectly, to the Mobley
                     Affiliates, Mikey Mobley, Cody Mobley, and Solid Liberty for
                     purposes of competing with QLRH and the Quality Companies; and

              h.     investing in, managing, operating, financing, rendering consulting
                     services to or assisting, directly or indirectly, the Mobley Affiliates,
                     Mikey Mobley, Cody Mobley, and Solid Liberty for purposes of
                     competing with QLRH and the Quality Companies.

       132.   Accordingly, as a direct and proximate cause of the above-described

breaches of fiduciary duty by Michael Mobley, Plaintiffs suffered losses in an amount to

be proved at trial. Further, as a result of their breaches of fiduciary duty, Michael Mobley

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wrongfully derived profits, either personally or through entities they own, control, manage,

and/or operate.

       133.   Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through fraud or defalcation while an officer

of QLRH, and caused willful and malicious injury to QLRH through the conduct described

above. This has created debts owed by Michael Mobley to Plaintiffs that should be

excepted from and denied discharge under 11 U.S.C. § 523(a)(4), (a)(6).

                  SEVENTH CLAIM FOR RELIEF: UNJUST ENRICHMENT

       134.   Plaintiffs repeat and re-allege the allegations set forth in all preceding

paragraphs of this Complaint as if fully set forth herein.

       135.   Pursuant to 11 U.S.C. § 523(a), a discharge under §§ 727, 1141, 1228(a),

1228(b), or l328(b) of the Bankruptcy Code does not discharge an individual Debtor from

any debt:

              (2) For money, property, [or] services ... to the extent obtained by…

                  (A) false pretenses, a false representation, or actual fraud…

              (4) For fraud or defalcation while acting in a fiduciary capacity,
                  embezzlement, or larceny…

              (6) for willful and malicious injury by the debtor to another entity or
                   to the property of another entity.

       136.   As described throughout this complaint, Michael Mobley benefited from

Plaintiffs by fraud, defalcations, duress, and the taking of undue advantage of business

opportunities that did not belong to them. By fraudulently inducing QLRH into the

Purchase Transaction, Michael Mobley obtained $60 million in consideration, yet acted

like nothing had changed except the name of the companies they ran. Michael Mobley also

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reaped enormous benefits from revenues derived by assets rightfully belonging to the

Plaintiffs. Similarly, Michael Mobley reaped enormous benefits from customers that they

helped to lure away from QLRH and the Quality Companies with misappropriated

property.

       137.       It would be inequitable and unjust to allow Michael Mobley to retain such

benefits. Accordingly, QLRH seeks to recoup these benefits.

       138.       Michael Mobley, through Holdco, obtained tens of millions of dollars of

money, services, and property from Plaintiffs through fraud or defalcation while an officer

of QLRH, made false representations, and caused willful and malicious injury to QLRH

through the conduct described above. This has created debts owed by Michael Mobley to

Plaintiffs that should be excepted from and denied discharge under 11 U.S.C. § 523(a)(2),

(a)(4), (a)(6).

                                CONCLUSION AND PRAYER

       WHEREFORE, Plaintiffs pray unto the Court as follows:

       1.         Actual, compensatory, rescissory, consequential, exemplary, and all other

                  damages and equitable remedies, including rescission, including damages in

                  an amount not less than $62,700,000;

       2.         Attorneys’ fees;

       3.         A judgment and determination against Debtor Michael Mobley that the debts

                  arising from the above-described claims for relief are excepted from and

                  denied discharge under 11 U.S.C. § 523(a)(2), (4), and/or (6) as set forth

                  herein;


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      4.     That the costs of this action be taxed by this Court against Debtor Michael

             Mobley; and

      5.     For such further relief to which Plaintiffs are entitled at law or equity, or

             which the Court deems just and proper.

Dated: June 30, 2022                     Respectfully submitted,

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                            CERTIFICATE OF SERVICE

     I certify that a true and correct copy of the above and foregoing was served on the
30 day of June, 2022 upon all parties via the Court’s electronic case filing system (ECF).
  th



                                                /s/ Walter J. Cicack
                                                Walter J. Cicack




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